Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 1 of 25




          Exhibit A
  Electronically Filed Superior Court of CA County of Contra Costa 3/17/2023 1:58 PM By: K. Jinkerson, Deputy
             Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 2 of 25



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 6                                                     Per local Rule, This case is assigned to
                                                     Judge Treat, Charles S, for all purposes.
      Counsel for Plaintiff and the Putative Class Members
 7
 8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                              FOR THE COUNTY OF CONTRA COSTA

10 N.A., by and through his Guardian BRUCE ) Case No.                      C23-00609
11 ALLS, individually and on behalf of similarly )
     situated individuals,                             )    Assigned to:
12                                                     )    Department:
            Plaintiff,                                 )    Complaint Filed:
13                                                     )
                v.                                     )    COMPLAINT – CLASS ACTION JURY
14                                                     )    TRIAL DEMANDED
15 NINTENDO        OF AMERICA              INC.,     a )
     Washington corporation,                           )    1.    Declaratory Judgment on Minors’
16                                                     )          Rights to Disaffirm
            Defendant.                                 )
17                                                     )    2.    Violation of Washington Consumer
                                                       )          Protection Act, Wash Rev. Code §§
18                                                     )          19.86.010, et seq.
19                                                     )
                                                       )    3.    Violation of California Business and
20                                                     )          Professions Code § 17200, et seq.
                                                       )
21                                                     )    4.    Unjust Enrichment
                                                       )
22                                                     )    DEMAND FOR JURY TRIAL
23                                     CLASS ACTION COMPLAINT
24            Plaintiff N.A. a minor, by and through his Guardian Bruce Alls (collectively “Plaintiff”),
25    through their undersigned counsel, brings this Class Action Complaint against Nintendo of
26    America Inc. (“Nintendo” or “Defendant”), on behalf of himself and all others similarly situated,
27    and alleges the following upon personal knowledge as to his own actions, and upon information
28    and belief as to counsel’s investigations and all other matters.
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                                           CLASS ACTION COMPLAINT
           Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 3 of 25




 1                                      NATURE OF THE CASE
 2          1.      This is an action brought by Plaintiff on his own behalf and on behalf of others
 3   similarly situated individuals for the unlawful, deceptive, and misleading trade practices engaged
 4   in by Defendant, a provider of some of the most popular video games in the nation.
 5          2.      One of Defendant’s most popular games is Mario Kart Tour, a series of racing
 6   games with Nintendo’s most recognizable characters including Mario, Luigi, Donkey Kong and
 7   Captain Toad, which can be downloaded for free on mobile or tablet devices via the Apple or
 8   Android app store. Users playing Mario Kart Tour on their devices connect through the internet to
 9   Defendant’s servers that allow them to play with other users across the country, and the world.
10          3.      A critical and lucrative aspect of Defendant’s Mario Kart game were virtual
11   “Lootboxes” that Defendant calls “Spotlight Pipes”. Defendant marketed and sold these Pipes for
12   real-world currency to players, including minors such as Plaintiff. The Pipes were advertised in
13   game as possibly containing valuable unlockable prizes that allowed players to upgrade and/or
14   advance their playing advantage in the game. Nothing players did in game increased or altered
15   their chances of what would be unlocked when a Pipe was opened even though what was won
16   could advance a player. Players such as Plaintiff were not told in advance what is inside any
17   particular Pipe or the odds of winning something which may be contained in the Pipe, and thereby
18   were functionally gambling on the chance of winning some valuable prize.
19          4.      In addition, Defendant’s in-game content, including its Pipes, is non-refundable,
20   regardless of whether the purchases, gambling or otherwise, are made by a minor.
21          5.      Defendant’s unfair, deceptive, or unlawful acts or practices of allowing players,
22   including minors, to pay real-world currency to gamble on winning in-game items, implemented
23   in conjunction with undisclosed “dark patterns” that steered players towards making such
24   purchases and making it particularly difficult to advance in the game otherwise, as well as refusing
25   to provide refunds to minors who made in-game purchases, have through such omissions deceived,
26   misled, and harmed consumers, especially minor children who comprise a large segment of
27   Defendant’s player population. Plaintiff and other consumers as well as the public interest have
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                                         CLASS ACTION COMPLAINT
           Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 4 of 25




 1   been impacted or injured as a result of Defendant’s practices, including, but not limited to, having
 2   suffered out-of-pocket loss.
 3           6.      Plaintiff brings this class action lawsuit on behalf of himself, and all others similarly
 4   situated. Plaintiff, on behalf of himself and the Class, seeks damages, restitution, declaratory and
 5   injunctive relief.
 6                                     JURISDICTION AND VENUE
 7           7.      This Court has subject-matter jurisdiction over this action pursuant to Cal. Code
 8   Civ. Proc. § 410.10 and Article VI, § 10 of the California Constitution.
 9           8.      Plaintiff has standing to bring this action pursuant to the Washington Consumer
10   Protection Act, Wash Rev. Code §§ 19.86.010, et seq.; the California Unfair Competition Law,
11   California Business and Professions Code § 17200, et seq. (“UCL”); and the common law.
12           9.      This Court has personal jurisdiction over Defendant and venue is proper in this
13   Court because a substantial part of the events giving rise to the claims asserted herein occurred in
14   this County.
15                                                 PARTIES
16           10.     Minor Plaintiff N.A. and his Guardian, Bruce Alls, are natural persons and are
17   citizens and residents of California.
18           11.     Defendant Nintendo of America Inc. is a Washington corporation with its
19   headquarters and principal place of business located in Redmond, Washington, and has regularly
20   engaged in business throughout the state of California, including in Contra Costa County. Upon
21   information and belief, Defendant directs the marketing and development of its products and
22   services to Contra Costa County, and the unfair, deceptive, or unlawful acts and practices stemming
23   therefrom, from its headquarters located in Washington.
24           12.     At all times relevant to this action, Defendant, in the ordinary course of business as
25   the provider of products and services to individuals who play its Mario Kart Tour video game
26   engaged in acts or practices affecting commerce within the meaning of California consumer
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                                             CLASS ACTION COMPLAINT
           Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 5 of 25




 1   protection laws, and Defendant’s deceptive and unfair trade practices alleged herein have affected
 2   tens of thousands of consumers within California.
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 4                              COMMON FACTUAL ALLEGATIONS
 5   I.     Lootboxes
 6          13.     Broadly speaking, a Lootbox is a video game microtransaction in which the
 7   consumer purchases a reward containing one or more virtual items of differing value or rarity that
 8   is assigned at random.1 Lootboxes are defined in the dictionary as “a box containing a prize of
 9   unknown value, especially one offered for sale to players as part of an online game.”2
10          14.     Although Lootboxes are advertised and portrayed by video game providers as a
11   vehicle that allows it users to quickly advance further in a game through purchases using real-
12   world currency, the use of Lootboxes and associated omissions in videogames is overwhelmingly
13   misleading and exploitive of consumers like Plaintiff.
14          15.     Over the past decade Lootboxes have been the epicenter of a host of issues that have
15   caused lawsuits and law reform around world because of their addictive and predatory nature as
16   Lootboxes are often used in free-to-play video games as the main source of revenue for video game
17   providers but players very rarely actually end up getting anything valuable when they purchase a
18   Lootbox.3,4,5,6 One of the most problematic issues with Lootboxes universally is that despite their
19   use in games that are aimed at and/or played by minor children, Lootbox purchases are often non-
20   refundable—as is the case with Defendant’s Mario Kart Tour in-game purchases.7
21   1
       www.ftc.gov/system/files/documents/reports/staffperspectivepaperlootboxworkshop/loot_box_
22   workshop_staff_perspective.pdf.
     2
       www.collinsdictionary.com/us/dictionary/english/lootbox#:~:text=noun,part%20of%20an%20o
23   nline%20game.
     3
       www.gamechangerslaw.com/blog/italian-antitrust-authoritys-recent-activision-blizzard-lootbox-
24   decision.
     4
       https://screenrant.com/lootbox-gambling-microtransactions-illegal-japan-china-belgium-
25   netherlands/.
     5
       www.revisor.mn.gov/bills/text.php?number=HF4460&version=0&session=ls90&session_year=
26   2018&session_number=0.
     6
       https://www.gamedeveloper.com/business/washington-state-senator-introduces-bill-to-tackle-
27   the-big-loot-box-debate;      www.nprillinois.org/statehouse/2021-05-04/illinois-house-approves-
     adding-warnings-to-video-games-that-include-loot-boxes;
     7
28     https://accounts.nintendo.com/term/eula/US?lang=en-US
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                                         CLASS ACTION COMPLAINT
           Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 6 of 25




 1   II.     Mario Kart Tour’s Spotlight Pipes
 2           16.       Mario Kart Tour is a free to play and download video game for mobile devices in
 3   which players race against computer-controlled opponents in a series of races or against other
 4   players online.
 5           17.       In order to keep track of a user’s progress, an online Nintendo account is required.
 6           18.       The races are divided into a series of “cups,” each of which have three courses and
 7   a bonus challenge.
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16           19.       Before each race, a player chooses a driver, kart, and glider, and the speed to race
17   at, with 50cc being the slowest, and 200cc being the fastest.
18           20.       Crucially, using specific characters or equipment can give the player added bonuses
19   in certain races, but they have to be unlocked first; the better the driver, the harder it is to unlock.
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                                            CLASS ACTION COMPLAINT
           Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 7 of 25




 1          21.     Unlike other racing games where the objective is simply to reach the finish line first,
 2   Mario Kart Tour utilizes a point-based system, allowing players to unlock experience points to
 3   improve their driver and kart, along with increasing the player’s driver’s level to earn more rewards
 4   from races. The player receives some player points for their level if they place in the top three. The
 5   player will level up and receive a prize when the gauge is fully filled.
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13          22.     Grand Stars are also given to the player after each race, allowing them to unlock
14   new cups.
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25          23.     Unlocking all rewards, such as Mario Kart Tour characters, gliders, and karts, is a
26   time-consuming effort. For example, you can only collect a maximum of 30 coins per race and
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                                          CLASS ACTION COMPLAINT
             Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 8 of 25




 1   some of the “Daily Selects” - which offer a random collection of items each day that can be
 2   unlocked using coins collected during a race - can be expensive.
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10           24.    Mario Kart Tour was purposefully designed in this manner so as to introduce a way
11   for users to spend real cash to unlock things faster by either buying rotating gift sets that include
12   unlockable prices and other collectibles, or by buying in-game currency called “Rubies” in packs
13   costing up to $70 for a chance to unlock random items.
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24           25.    For example, if a user spends five Rubies, they will unlock a random item. Or they
25   can spend Rubies on a special race called “coin rush” that lets them collect hundreds of coins at
26   once.
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                                         CLASS ACTION COMPLAINT
           Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 9 of 25




 1          26.     The most popular way to attain any random and unlockable prize is by firing a so-
 2   called “Spotlight Pipe” where for five Rubies a player can draw a random item, and receive a new
 3   kart character/driver or kart part. Or they have the option to draw 10 (ten) different random items
 4   by firing the Pipe 10 (ten) times, for 45 Rubies. That means that a player is paying anywhere from
 5   $2.60-$3.32 for a single draw, or $23.40-$29.84 for the ability to draw 10 (ten) items at a time.
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18          27.      Critically, as with traditional lootboxes, when a player purchases Rubies to draw a
19   Spotlight Pipe, they are not told or shown anything about the gifts or unlockable prizes they will
20   actually receive. In addition to omitting what can be won there is a complete omission on the odds
21   of winning any prize. Furthermore, even though like with most other games utilizing “lootboxes”
22   a player may attain some prizes at a faster rate by having the player pay directly for them by firing
23   a “Pipe,” the chances of a player drawing rare valuable items through the Pipe is still designed to
24   be very small. Thus, in order to keep up and gain valuable items to remain competitive in gameplay,
25   players must make large amounts of in-game purchases of Rubies using real-world currency so
26   that they can fire “Pipes”.
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                                         CLASS ACTION COMPLAINT
           Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 10 of 25




 1            28.    As with other lootbox games, Defendant’s lootbox mechanism capitalized on and
 2   encouraged addictive behaviors, akin to gambling. The “Pipe” Lootboxes offered in Mario Kart
 3   meet the definition of gambling as set forth in a multitude of gambling statutes and regulations and
 4   rely on the same predatory practices designed to induce consumers to spend money on games of
 5   chance. Minors are especially susceptible to these addiction-enhancing elements of game design.
 6   The experience of acquiring surprise rewards and the associated excitement of uncovering
 7   unexpected in-game items holds a strong appeal for minors and reinforces their desire to keep
 8   playing and keep getting rewards.
 9            29.    Defendant’s Pipe lootbox mechanism has allowed it to obtain profits of almost $300
10   million dollars while they were in effect.8
11            30.    Acknowledging the deceptive nature of their game design and the dark patterns
12   incorporated within it, Nintendo shut down its Pipe lootbox mechanism in or around September
13   2022.9
14            31.    Players are now allowed to purchase specific individual items in the Spotlight Shop,
15   where Rubies can be exchanged directly for the specific drivers, karts, and gliders that were
16   attainable by mere luck and chance through the Pipes. Accordingly, the previously omitted odds
17   are now essentially disclosed since the person now knows exactly what is being purchased and for
18   how much.
19            32.    In sum, during the relevant time period players purchased large quantities of
20   Rubies using real-world currency to fire “Pipes” hoping to receive valuable prizes and/or
21   rewards that would help them advance in the game. However, each Pipe pull was mostly
22   worthless, often filled with valueless prizes and/or rewards that players already had or did not
23   want. Had players known the omitted odds of receiving specific prizes and/or rewards they
24   desired in any particular Spotlight Pipe that they purchased, they would not have made the
25   purchase to fire the Pipe. Given Defendant’s superior knowledge that each “Pipe” pull had
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27     https://www.vg247.com/nintendo-is-removing-loot-boxes-from-mario-kart-tour-which-has-made-the-company-
     close-to-300-million
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28      https://twitter.com/mariokarttourEN/status/1565585887303532544
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                                            CLASS ACTION COMPLAINT
            Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 11 of 25




 1   little to no chance of providing any valuable benefit, Defendant was required to disclose the
 2   odds associated and its omission of any indication about the real odds was material.
 3   III.    Dark Patterns & Defendant’s Mario Kart Tour Game
 4           33.      Dark patterns are online user interfaces, that are, amongst other reasons, intended
 5   to achieve a financial goal for those who implement them by manipulating users into taking certain
 6   actions or making certain decisions against their own interests.10 Dark patterns are undisclosed and
 7   work by exploiting cognitive biases, and “often employ strategies that render the ease of selecting
 8   different options asymmetric, cover up the mechanisms by which consumers are influenced,
 9   deceive users through acts or omissions, hide relevant information, or restrict choices likely to be
10   popular among consumers.”11 The term “dark patterns” was coined to convey the unscrupulous
11   nature of such design elements, “and also the fact that [they] can be shadowy and hard to pin
12   down.”12
13           34.      The FTC has given some examples of “dark patterns” deemed deceptive. This
14   includes “Grinding”, or “making the free version of a game so cumbersome and labor-intensive
15   that the player is induced to unlock new features with in-app purchases,” which the FTC deems as
16   “coercive action.”13
17           35.      As described above, grinding is built into the Mario Kart Tour game. Players that
18   choose not to make Ruby purchases using real-world currency must use the “grinding” mechanism
19   and complete repetitious tasks (i.e. racing to gain small amount of in-game points) if they want to
20   attain any in-game benefits. While each mission (or cup, tournament, or tour) grants the player
21   some in-game benefits such as experience points, levels, equipment, or some other perk without
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23     Jamie Luguri, Lior Jacob Strahilevitz, Shining a Light on Dark Patterns, 13 J. Legal Analysis, Issue 1, 2021, Pages
     43–109, https://doi.org/10.1093/jla/laaa006.
     11
24       Jamie Luguri, Lior Jacob Strahilevitz, Shining a Light on Dark Patterns, 13 J. Legal Analysis,
     Vol. 13, Issue 1, 2021, 43–109, https://doi.org/10.1093/jla/laaa006 (citing Mathur, Arunesh,
25   Jonathan Mayer, and Mihir Kshirsagar. What Makes a Dark Pattern.. Dark? Design Attributes,
     Normative Considerations, and Measurement Methods, ACM Conference on Human Factors in
26   Computing Systems. 2021 (available at https://arxiv.org/pdf/2101.04843.pdf)).
     12
           Harry Brignull, Bringing Dark Patterns to Light, MEDIUM (June 6, 2021),
27   https://harrybr.medium.com/bringing- dark-patterns-to-light-d86f24224ebf
     13
        https://www.ftc.gov/system/files/ftc_gov/pdf/P214800%20Dark%20Patterns%20Report%209.1
28   4.2022%20-%20FINAL.pdf
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                                               CLASS ACTION COMPLAINT
          Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 12 of 25




 1   having to purchase Rubies and fire a “Pipe,” they are not valuable enough to matter unless the
 2   player performs an extremely large amount of them. Therefore, players in Mario Kart Tour game
 3   are actively looking to “ramp up” their play.
 4          36.     Therefore, Grinding is often linked with another dark pattern mechanism such as
 5   “Pay to Skip”, where a user pays money to skip specific grind-related activities by making in-game
 6   purchases that give immediate significant in-game benefit or advantage. This often comes in the
 7   form of premium currency (i.e. Rubies in Mario Kart Tour).
 8          37.     Relatedly, to take advantage of specific grind-related activities and the dark pattern
 9   of “Pay to Skip”, Mario Kart Tour also creates artificial scarcity.
10          38.     This method is used by Mario Kart to get you to invest more time and money in the
11   game. Limited-time deals are a common manifestation of this, where the main purpose of the
12   limited time offers is to pressure users into making an impulsive choice and prevent them from
13   weighing the relative values of several options.
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26          39.     Finally, the most severe monetary dark pattern are lootboxes where the quantity and
27   quality of valuable objects might vary, and they are less likely to occur than common items. Players
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                                          CLASS ACTION COMPLAINT
          Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 13 of 25




 1   are encouraged to keep trying until they win the desired prize by the randomization of the awards
 2   by firing the Spotlight Pipe with undisclosed prizes and a complete omission of the odds of winning
 3   any one prize.
 4          40.       As already described above, Mario Kart Tour allowed users to purchase Rubies to
 5   fire the Spotlight Pipe one time, or 10 (ten) times. This “Gambler’s Fallacy”, or the tendency for
 6   players to think that past events can affect the future probability of an event occurring, when in
 7   reality the undisclosed odds are always the same, was an integral part of Mario Kart Tour’s
 8   monetary dark pattern to help players skip over certain grind-related dark patterns built into the
 9   Mario Kart Tour game.
10          41.       A similar psychological trait of Defendant’s lootbox dark pattern of firing the
11   Spotlight Pipe was for a user to notice patterns or relationships of previous rewards from the Pipe
12   when they were unrelated. For example, a user may mistakenly notice that they get better rewards
13   when they fire the Pipe 10 (ten) times rather than one time, but in reality, the undisclosed odds
14   were always the same.
15          42.       These intentionally-designed, omission-based dark patterns of “grinding” and “pay
16   to skip” (Spotlight Pipes, Limited Offers, etc.) in the Mario Kart Tour game, have been deemed by
17   the FTC to create coercive action, and consist of unlawful, unfair, or deceptive acts or practices,
18   especially when aimed at minor children.
19                               FACTS SPECIFIC TO PLAINTIFF N.A.
20          43.       Plaintiff played Mario Kart Tour from approximately 2021 to 2022 during which
21   time Plaintiff purchased Rubies and fired the Spotlight Pipe numerous times. Plaintiff’s purchases
22   in Mario Kart Tour have totaled over $170.00 in real-world currency during that time.
23          44.       Plaintiff, a minor, was able to make the purchases through his father’s credit card
24   that was linked to his Nintendo account. Many of the purchases made by Plaintiff were without his
25   Guardian’s permission to do so. Nintendo’s charges did not disclose that the money was being used
26   to purchase Defendant’s “Pipe” lootboxes.
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                                          CLASS ACTION COMPLAINT
          Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 14 of 25




 1          45.        Throughout his time playing Defendant’s Mario Kart Tour game, Plaintiff N.A.
 2   was never informed of and was thus unaware of the odds of receiving any reward (including any
 3   specific character, kart, glider etc.) when he purchased Rubies with real-world currency to fire the
 4   Spotlight Pipe.
 5          46.        Plaintiff was also unaware that he had a right to disaffirm any purchases he made
 6   from Defendant.
 7          47.        Plaintiff almost never received any valuable reward from the Spotlight Pipes he
 8   had purchased during his time playing Mario Kart Tour and would not have made the amount of
 9   in-game purchases that he did had he known the true odds of his being able to obtain any reward
10   from the Spotlight Pipe, or that he would not be allotted a refund.
11          48.        Plaintiff no longer plays Mario Kart Tour, and wishes that he had never made the
12   purchases that he did and that he obtain a full refund for them.
13          49.        While Defendant’s terms and conditions require minors to obtain their parent’s
14   consent to create an account and play Mario Kart Tour, Defendant omitted significant facts and
15   failed to implement sufficient mechanisms for parental consent controls to prevent minors from
16   making unlimited purchases and limiting in-game purchases to players who are over 18.
17          50.        Based on all of these omissions, minor Plaintiff made numerous in-game purchases
18   that were labeled non-refundable using his Guardian’s funds and which his Guardian did not
19   receive any notifications of until the charges were already made. Even then none of the charges
20   described the purchases that were made and that Plaintiff had been essentially repeatedly gambling
21   on winning a valuable in-game item by purchasing Defendant’s Pipes.
22          51.        Had Defendant provided proper parental control and age verification features,
23   minor Plaintiff would not have been able to make any of the purchases that he did.
24          52.        Furthermore, before hiring counsel in this action, Plaintiff N.A. and his Guardian
25   were not aware of a minor’s right to disaffirm and get refunds on any and all in-game purchases
26   without any restrictions. Had Defendant permitted Plaintiff to disaffirm his purchases, he would
27   have done so.
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                                           CLASS ACTION COMPLAINT
          Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 15 of 25




 1          53.     Moreover, each time Defendant updates its Terms and Conditions, Defendant does
 2   not require the minor-user to obtain their parent’s consent to any renewed or updated terms.
 3          54.     Minor Plaintiff N.A. does not recollect seeing, reading, or agreeing to Defendant’s
 4   Terms of Use prior to playing Mario Kart Tour and his Guardian also did not see, read, or agree to
 5   the terms. Minor Plaintiff N.A. does not consent to arbitrate any of the claims in this action and
 6   disaffirms the entirety of any end-user-license agreement, contract or agreement between him and
 7   Defendant.
 8                                       CLASS ALLEGATIONS
 9          55.     Plaintiff brings this action on his own behalf and on behalf of a Class and one
10   Subclass, pursuant to Cal. Code Civ. Proc. § 382, Cal. Civ. Code § 1781, and Cal. Bus. & Prof.
11   Code § 17203, defined as follows:
12          The Class:
13                  All minors located within the United States who, during the applicable limitations
14                  period, made a purchase to fire the Spotlight Pipe in the Mario Kart Tour game
                    using real-world currency.
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            The California Minor Subclass:
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                    All minors located within the state of California who, during the applicable
17                  limitations period, made a purchase to fire the Spotlight Pipe in the Mario Kart Tour
18                  game using real-world currency.

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            56.     Adequacy. Plaintiff will fairly and adequately represent and protect the interests of
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     the other members of the Class and Subclass (collectively, the “Class”). Plaintiff has retained
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     counsel with substantial experience in prosecuting complex litigation and class actions. Plaintiff
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     and his counsel are committed to vigorously prosecuting this action on behalf of the other Class
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     and Subclass members, and have the financial resources to do so. Neither Plaintiff nor his counsel
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     have any interest adverse to those of the other members of the Class or Subclass.
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            57.     Predominance & Superiority. Absent a class action, most Class and Subclass
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     members would find the cost of litigating their claims to be prohibitive and would have no effective
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     remedy. The class treatment of common questions of law and fact is superior to multiple individual
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                                         CLASS ACTION COMPLAINT
          Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 16 of 25




 1   actions or piecemeal litigation in that it conserves the resources of the courts and the litigants, and
 2   promotes consistency and efficiency of adjudication.
 3          58.     Final Declaratory or Injunctive Relief. Defendant has acted and failed to act on
 4   grounds generally applicable to the Plaintiff and the Class and Subclass members, requiring the
 5   Court’s imposition of uniform relief to ensure compatible standards of conduct toward the Class
 6   and Subclass members, and making injunctive or corresponding declaratory relief appropriate for
 7   the Class and Subclass as a whole.
 8          59.     Typicality. The factual and legal basis of Defendant’s liability to Plaintiff and to
 9   the other Class and Subclass members are the same, resulting in injury to the Plaintiff and to all of
10   the other members of the Class and Subclass. Plaintiff and the other members of the Class and
11   Subclass have suffered harm and damages as a result of Defendant’s unlawful and wrongful
12   conduct.
13          60.     Numerosity. Upon information and belief, there are hundreds, if not thousands, of
14   Class and Subclass members such that joinder of all members is impracticable.
15          61.     Commonality. There are many questions of law and fact common to the claims of
16   Plaintiff and the other members of the Class and Subclass, and those questions predominate over
17   any questions that may affect individual members of the Class and Subclass. Common questions
18   for the Class and Subclass include, but are not limited to, the following:
19          (a)     Whether Defendant’s unfair, deceptive, or unlawful acts or practices omitting
                    material facts while promoting “Pipes” that contained unknown rewards and in-
20                  game benefits was unfair or deceptive to a reasonable consumer;
21          (b)     Whether Defendant’s unfair or deceptive act or practice of using undisclosed “Dark
22                  Patterns” to steer players towards making purchases of “lootboxes” designed as
                    “Pipes” was unfair or deceptive to a reasonable consumer;
23
            (c)     Whether Defendant’s failure to provide a method for minors or their guardians to
24                  disaffirm any purchases violated their consumer rights;
25          (d)     Whether Plaintiff and the other Class and Subclass members were damaged by
26                  Defendant’s conduct; and

27          (e)     Whether Plaintiff and the other Class and Subclass members are entitled to
                    restitution or other relief.
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                                          CLASS ACTION COMPLAINT
          Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 17 of 25




 1                                      FIRST CAUSE OF ACTION
                            Declaratory Judgment on Minors’ Rights to Disaffirm
 2                           (On behalf of Plaintiff and the Class and Subclass)
 3          62.      Plaintiff hereby incorporates the above allegations by reference as though fully set
 4   forth herein.
 5          63.      On information and belief, Defendant’s Mario Kart Tour game is marketed to
 6   players of all ages, including minors.
 7          64.      Defendant purports to enter into and otherwise claims to outwardly accept a contract
 8   with a minor when an in-game purchase by the minor is confirmed. There is consideration on both
 9   sides as Defendant gives the consideration of virtual in-game content exchanged for consideration
10   of actual money from the minor.
11          65.      Under California law, and equivalent law in states nationwide, including
12   Washington, minors have the right to disaffirm contracts such as those at issue here. See, e.g., Cal.
13   Family Code § 6700; Wash. Rev. Code § 26.28.030.
14          66.      Minors may disaffirm or a guardian may disaffirm a contract on behalf of a minor.
15   Through the filing of this lawsuit, Plaintiff disaffirms all in-game purchases he has made through
16   Mario Kart Tour to-date and requests a refund.
17          67.      Plaintiff further seeks injunctive relief on behalf of the Class and Subclass for future
18   and prospective purchases in Mario Kart Tour to allow for refunds on all in-game purchases made
19   by the Class and Subclass without restrictions.
20          68.      The purported contracts between Defendant and the members of the Class and
21   Subclass who are minors are voidable—a fact that Defendant denies as evidenced by its denial of
22   the Class and Subclasses’ right to be refunded in its Terms of Service.
23          69.      Accordingly, there is an actual controversy between the parties, requiring a
24   declaratory judgment.
25          70.      This claim for declaratory judgment is brought pursuant to Code of Civil Procedure
26   § 1060 seeking a determination by the Court that: (a) this action may proceed and be maintained
27   as a class action; (b) the sales contracts between Defendant and the Class and Subclass members
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                                           CLASS ACTION COMPLAINT
          Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 18 of 25




 1   are voidable at the option of those Class and Subclass members or their guardians; (c) if Class and
 2   Subclass members elect to void the contracts, they will be entitled to restitution and interest
 3   thereon; (d) an award of reasonable attorneys’ fees and costs of suit to Plaintiff and the Class and
 4   Subclass is appropriate; and (e) such other and further relief as is necessary and just may be
 5   appropriate as well.
 6                                     SECOND CAUSE OF ACTION
                         Violations of the Washington Consumer Protection Act
 7                                (Wash Rev. Code §§ 19.86.010, et seq.
 8                                  (On behalf of Plaintiff and the Class)
               71.   Plaintiff incorporates by reference the foregoing allegations as if fully set forth
 9
     herein.
10
               72.   The Washington Consumer Protection Act (“WCPA”) broadly prohibits “[u]nfair
11
     methods of competition and unfair or deceptive acts or practices in the conduct of any trade or
12
     commerce.” Wash. Rev. Code § 19.86.010.
13
               73.   Nintendo engaged in the omissions or otherwise committed the acts complained of
14
     herein in the course of “trade” or “commerce” within the meaning of Wash. Rev. Code § 19.86.010
15
     as Nintendo maintains its headquarters in Washington state, received payments from Plaintiff and
16
     the other members of the Class and Subclass in Washington state, and designed, managed, and
17
     deployed its Mario Kart Tour video game from Washington state.
18
               74.   Defendant’s conduct is unlawful under the WCPA because it is in violation of a
19
     minor’s absolute right to disaffirm contracts.
20
               75.   Furthermore, Nintendo engaged in unfair or deceptive acts or practices through its
21
     omissions and conduct described herein in the sale of consumer products and services, such as
22
     Defendant’s Mario Kart Tour mobile game, and by using undisclosed dark patterns to manipulate
23
     and frustrate the minor Plaintiff and members of the minor Class and Subclass in order to induce
24
     them into spending real cash for in-game currency and in-game purchases without disclosure and
25
     completely omitting the odds of winning any particular prize. As a result most purchases were
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     ultimately worthless.
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                                         CLASS ACTION COMPLAINT
          Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 19 of 25




 1          76.     Defendant’s conduct described herein is “unfair” under the WCPA because it
 2   violates public policy and is immoral, unethical, oppressive, unscrupulous, and/or substantially
 3   injurious to consumers, as Defendant fails to disclose and otherwise omits the actual odds of
 4   obtaining any valuable reward by firing the Spotlight Pipe purchase while unlawfully denying
 5   minors any refunds they seek for receiving worthless rewards and/or prizes.
 6          77.     Defendant’s conduct is also “unfair”, under the WPCA, because the user interface
 7   in the Mario Kart Tour game incorporates undisclosed dark pattern design elements such as
 8   “Grinding” and “Pay to Skip”, including related monetary traps through Limited Time Deals and
 9   Spotlight Pipes. These tactics are deceptive because they are designed to coerce action and
10   manipulate users, especially minor users, into making certain decisions in the Mario Kart Tour
11   game against their own interests, with real monetary loss to users such as the Plaintiff and other
12   members of the Class and Subclass.
13          78.     Defendant’s conduct also constitutes a fraudulent business practice within the
14   meaning of the WCPA in that Defendant intentionally and knowingly omitted information about
15   the actual odds of obtaining any valuable reward by firing a Spotlight Pipe, when Defendant knew
16   the actual odds of obtaining any valuable reward were always the same and Defendant knew that
17   users, especially minors, are more susceptible to these addiction-enhancing elements of game
18   design (i.e. experience of acquiring surprise rewards and the associated excitement of uncovering
19   unexpected in-game items) which constitutes gambling.
20          79.     Defendant’s conduct is also a fraudulent business practice within the meaning of
21   the WCPA in that Defendant intentionally and knowingly omitted providing information that
22   refunds are allowed for minors without any restrictions under applicable law for any purchases of
23   firing its Mario Kart Tour Spotlight Pipe.14 Such omissions misled Plaintiff and the other Class
24   and Subclass members and are likely to mislead the public.
25          80.     Defendant was aware that minors are a significant portion of the population that
26   plays Mario Kart Tour and that they are not capable of entering into binding contracts including
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                                          CLASS ACTION COMPLAINT
          Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 20 of 25




 1   for purchases of such things as in-game content like firing the Spotlight Pipe such that Defendant
 2   should have provided parental control features and provided for an unrestricted right for minors
 3   and their guardians to seek refunds of any purchases made.
 4          81.      Defendant omitted any age verification or parental control features in its Mario
 5   Kart Tour game that would have prevented Plaintiff and the other Class and Subclass members
 6   from making the purchases that they did, or would have otherwise allowed them or their guardians
 7   to seek a refund for their purchases.
 8          82.     Nor has Defendant implemented and has intentionally omitted any feature that
 9   provides insight as to what rewards and/or prizes a player will obtain when they make any given
10   purchase of firing the Spotlight Pipe.
11          83.     Plaintiff and putative Class members acted on Defendant’s omissions in that they
12   were unaware that they could disaffirm their contract with Defendant and receive a refund and that
13   they had a very low likelihood of actually obtaining any valuable reward and/or prize from their
14   purchase of Spotlight firing the Spotlight Pipes.
15          84.     Defendant knew or should have known that its omissions regarding the in-game
16   purchases were false, unfair, deceptive, or misleading acts or practices, especially after the dark
17   pattern design of the Mario Kart Tour game removing the loot box “Pipes” from its Mario Kart
18   Tour game, but Defendant has nonetheless failed to offer to provide Plaintiff and the other members
19   of the Class and Subclass refunds.
20          85.     Defendant’s conduct described herein constitutes an unfair business practice
21   because it violates public policy and is immoral, unethical, oppressive, unscrupulous, and/or
22   substantially injurious to consumers.
23          86.      As a direct causal link between Defendant’s deceptive or unfair trade acts or
24   practices, Plaintiff and the other members of the Class and Subclass, suffered actual damages,
25   including monetary losses.
26          87.     Plaintiff seeks to enjoin further unfair and fraudulent acts or practices by Nintendo,
27   recover damages, and obtain all other relief allowed under Wash. Rev. Code § 19.86.010.
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                                             CLASS ACTION COMPLAINT
          Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 21 of 25




 1                                  THIRD CAUSE OF ACTION
      Unlawful and Unfair Business Practices in Violation of the California Unfair Competition
 2                   Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq.
 3                            (On behalf of Plaintiff and the Subclass)
            88.      Plaintiff hereby incorporates the above allegations by reference as though fully set
 4
     forth herein.
 5
            89.       Plaintiff and Defendant are “persons” within the meaning of the UCL Cal. Bus. &
 6
     Prof. Code § 17201.
 7
            90.      California’s Unfair Competition Law, Business & Professions Code, § 17200, et
 8
     seq. (“UCL”), prohibits deceptive acts and practices in the sale of consumer products and services,
 9
     such as Defendant’s Mario Kart Tour video game, and by using dark patterns to manipulate and
10
     frustrate Plaintiff and members of the Subclass in order to coerce them into spending real cash for
11
     in-game currency and in-game purchases.
12
            91.      Defendant’s conduct as alleged herein occurred in the course of trade or commerce.
13
            92.      Defendant’s conduct is unlawful under the UCL because it is in violation of a
14
     minor’s absolute right to disaffirm contracts.
15
            93.      Defendant’s conduct is “unfair”, under the UCL, because the user interface in the
16
     Mario Kart Tour game incorporates undisclosed dark pattern design elements such as “Grinding”
17
     and “Pay to Skip,” including related monetary traps through Limited Time Deals and Spotlight
18
     Pipes. These tactics are deceptive because they are designed to coerce action and manipulate users
19
     into making certain decisions in the Mario Kart Tour game against their own interests, with real
20
     monetary loss to users such as the Plaintiff and other members of the Subclass.
21
            94.      Defendant’s conduct described herein is also “unfair” under the UCL because it
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     violates public policy and is immoral, unethical, oppressive, unscrupulous, and/or substantially
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     injurious to consumers, as Defendant fails to disclose the actual odds of obtaining any valuable
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     reward by firing the Spotlight Pipe purchase while unlawfully denying minors any refunds they
25
     seek for receiving worthless rewards and/or prizes.
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                                          CLASS ACTION COMPLAINT
             Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 22 of 25




 1             95.    Defendant’s conduct is also a fraudulent business practice within the meaning of
 2   the UCL in that Defendant intentionally and knowingly omitted providing information on the
 3   actual odds of obtaining any valuable reward by firing a Spotlight Pipe, when Defendant knew the
 4   actual odds of obtaining any valuable reward were always the same and Defendant knew that users,
 5   especially minors, are more susceptible to these addiction-enhancing elements of game design (i.e.
 6   experience of acquiring surprise rewards and the associated excitement of uncovering unexpected
 7   in-game items) which constitues gambling.
 8             96.    In addition, Defendant’s conduct constitutes a fraudulent business practice within
 9   the meaning of the UCL in that Defendant intentionally and knowingly omitted providing
10   information that refunds are allowed for minors without any restrictions under applicable law, and
11   by explicitly representing that no refunds whatsoever are permitted for any purchases of firing its
12   Mario Kart Tour Spotlight Pipe.15 Such omissions misled Plaintiff and the other Subclass members
13   and are likely to mislead the public.
14             97.    Defendant was aware that minors are a significant portion of the population that
15   plays Mario Kart Tour and that they are not capable of entering into binding contracts including
16   for purchases of such things as in-game content like firing the Spotlight Pipe such that Defendant
17   should have provided parental control features and provided for an unrestricted right for minors
18   and their guardians to seek refunds of any purchases made.
19             98.     Defendant did not implement any age verification or parental control features in its
20   Mario Kart Tour game that would have prevented Plaintiff and the other Subclass members from
21   making the purchases that they did, or would have otherwise allowed them or their guardians to
22   seek a refund for their purchases.
23             99.    Plaintiff and putative Subclass members relied on Defendant’s omission in that they
24   were unaware that they could disaffirm their contract with Defendant and receive a refund and that
25   they had a very low likelihood of actually obtaining any valuable reward and/or prize from their
26   purchase of “Spotlight Pipes”.
27
28
     15
          https://accounts.nintendo.com/term/eula/US?lang=en-US
                                                      21
                                             CLASS ACTION COMPLAINT
           Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 23 of 25




 1             100.   Defendant knew or should have known that its omissions regarding the in-game
 2   purchases were false, deceptive, and misleading, especially after removing the loot box “Pipes”
 3   from its Mario Kart Tour game, but Defendant has nonetheless failed to offer to provide Plaintiff
 4   and the other members of the Subclass refunds.
 5             101.   As a direct and proximate cause of Defendant’s deceptive and unfair trade practices,
 6   Plaintiff and the other members of the Subclass, suffered actual damages, including monetary
 7   losses.
 8             102.   Pursuant to Bus. & Prof. Code § 17203, Plaintiff seeks an injunction enjoining
 9   Defendant from continuing to engage in the conduct described above as Defendant’s wrongful
10   conduct is ongoing.
11             103.   Plaintiff also seeks rescission and an order requiring Defendant to make full
12   restitution and to disgorge its ill-gotten gains wrongfully obtained from members of the Subclass
13   as permitted by Bus. & Prof. Code § 17203.
14             104.   Additionally, Plaintiff and the Subclass members seek an order requiring Defendant
15   to pay attorneys’ fees pursuant to Cal. Civ. Code § 1021.5.
16                                    FOURTH CAUSE OF ACTION
                                     Restitution or Unjust Enrichment
17                                  In the Alternative to Count II & III
18                             (On behalf of Plaintiff and the Class and Subclass)
               105.   Plaintiff hereby incorporates the above allegations by reference as though fully set
19
     forth herein.
20
               106.   Plaintiff and the other Class and Subclass members conferred an economic benefit
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     on Defendant through their in-game purchases.
22
               107.   It is inequitable and unjust for Defendant to retain the revenues obtained from in-
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     game purchases made by Plaintiff and the other Class and Subclass members that are refundable
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     or voidable by law, when Defendant does not permit refunds of purchases of its in-game virtual
25
     currency and in-game items.
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                                           CLASS ACTION COMPLAINT
          Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 24 of 25




 1          108.    It is also inequitable and unjust for Defendant to retain the revenue obtained from
 2   in-game purchases made by Plaintiff and the other Class and Subclass members due to the
 3   undisclosed dark patterns incorporated in Defendant’s Mario Kart Tour game that were designed
 4   to manipulate players and coerce them into making purchases of in-game “Spotlight Pipes” that
 5   did not allow Plaintiff and the other Class and Subclass members to see the value of the rewards
 6   and/or prize that they were purchasing, obtain a refund for their purchases, and for which Plaintiff
 7   and the Class and Subclass members did not receive any valuable items.
 8          109.    Accordingly, because Defendant will be unjustly enriched if it is allowed to retain
 9   such funds, Defendant must pay restitution to Plaintiff and the other Class and Subclass members
10   in the amount which Defendant was unjustly enriched by each of their in-game purchases.
11                                         PRAYER FOR RELIEF
12          WHEREFORE, Plaintiff respectfully requests, on his own behalf and on behalf of all others
13   similarly situated, the following relief:
14          1.      For an order certifying this action as a class action, defining the Class and Subclass
                    as requested herein, appointing Plaintiff as class representative and his counsel as
15                  class counsel;
16
            2.      Declaring that the sales contracts between Defendant and Plaintiff and the Class and
17                  Subclass members are voidable;

18          3.      Awarding Plaintiff all economic, monetary, actual, consequential, compensatory,
                    and punitive damages available at law;
19
20          4.      Awarding Plaintiff’s reasonable attorneys' fees, costs, and other litigation expenses;

21          5.      Awarding pre- and post-judgment interest, as allowable by law;
22
            6.      For injunctive relief as the Court may deem proper; and
23
            7.      Awarding such further and other relief as the Court deems just and equitable.
24
                                                 JURY DEMAND
25
            Plaintiff requests trial by jury of all claims that can be so tried.
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                                           CLASS ACTION COMPLAINT
         Case 4:23-cv-02424-DMR Document 1-2 Filed 05/17/23 Page 25 of 25



     DATED: March 17, 2023
 1
 2                                            Respectfully submitted,

 3                                            N.A., by and through his Guardian BRUCE
                                              ALLS, individually and on behalf of similarly
 4                                            situated individuals
 5                                            By: /s/ Eugene Y. Turin
 6
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17
                                              Counsel for Plaintiff and the
18                                            Putative Class Members

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                                CLASS ACTION COMPLAINT
